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 8
                               IN THE UNITED STATES DISTRICT COURT
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                           FOR THE NORTHERN DISTRICT OF CALIFORNIA
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     CRISTA RAMOS, individually and on behalf
12   of others similarly situated; CRISTINA                Case No. 3:18-cv-01554-EMC
     MORALES; BENJAMIN ZEPEDA,
13   individually and on behalf of others similarly
     situated; ORLANDO ZEPEDA; JUAN
14   EDUARDO AYALA FLORES, individually                     [PROPOSED] ORDER GRANTING
     and on behalf of others similarly situated;            UNOPPOSED ADMINISTRATIVE
15   MARIA JOSE AYALA FLORES; ELSY                          MOTION TO FILE CORRECTED
     YOLANDA FLORES DE AYALA; HNAIDA                        AMICUS CURIAE BRIEF
16   CENEMAT, individually and on behalf of
     others similarly situated; WILNA DESTIN;
17   RILYA SALARY, individually and on behalf
     of others similarly situated; SHERIKA
18   BLANC; IMARA AMPIE; MAZIN AHMED;
     and HIWAIDA ELARABI,
19
                       Plaintiffs,
20          v.
21   KIRSTJEN NIELSEN, in her official capacity
     as Secretary of Homeland Security; ELAINE
22   C. DUKE, in her official capacity as Deputy
     Secretary of Homeland Security; UNITED
23   STATES DEPARTMENT OF HOMELAND
     SECURITY; and UNITED STATES OF
24   AMERICA,
25                     Defendants.
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                   [Proposed] Order Granting Unopposed Administrative Motion to File Corrected Amicus Curiae Brief
                                                                                     Case No. 3:18-cv-01554-EMC
     Case 3:18-cv-01554-EMC Document 121-2 Filed 09/20/18 Page 2 of 2



 1            Having considered the papers and pleadings on file, the Court GRANTS the Unopposed

 2   Administrative Motion to File Corrected Amicus Curiae brief.

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     PURSUANT TO STIPULATION, IT IS SO ORDERED.
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     Dated:
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                                                                       Honorable Edward M. Chen
 8                                                                     United States District Court Judge
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                   [Proposed] Order Granting Unopposed Administrative Motion to File Corrected Amicus Curiae Brief
                                                                                     Case No. 3:18-cv-01554-EMC
